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Attorneys for Plaintiff
UNITED STATES OF AMERICA
UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CR No. 07-1223 (A) -GW

PLEA AGREEMENT FOR DEFENDANT
MOHAMAD MOUSSA MATAR

Plaintiff,
Vv.

MOUSSA MAHMOUD MATAR, et
al.,

Defendants.

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1. This constitutes the plea agreement between MOHAMAD
MOUSSA MATAR (“defendant”) and the United States Attorney's
Office for the Central District of California (“the USAO”) in
the above-captioned case. This agreement is limited to the USAO
and cannot bind any other federal, state or local prosecuting,
administrative or regulatory authorities.

PLEA
2. Defendant agrees to plead guilty to count seven of the

superseding indictment in United States v. Moussa Mahmoud

 

 
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Matar, et al., CR No. 07-1223 (A) -GW.

 

NATURE OF THE OFFENSE

3. In order for defendant to be guilty of count seven,
which charges a violation of Title 31, United States Code,
Section 5324(a) (3), the following must be true:

a. Defendant structured or assisted in structuring

b. a transaction with one or more domestic financial
institutions

c. for the purpose of evading the reporting requirements
of 31 U.S.C. § 5313.
Defendant admits that defendant is, in fact, guilty of this

offense as described in count seven of the superseding

indictment.
PENALTIES
4. The statutory maximum sentence that the Court can
impose for a violation of Title 31, United States Code, Section

5324(a) (3), is: five years imprisonment; a three-year period of
supervised release; a fine of $250,000; and a mandatory special
assessment of $100.00.

5. Supervised release is a period of time following
imprisonment during which defendant will be subject to various
restrictions and requirements. Defendant understands that if
defendant violates one or more of the conditions of any
supervised release imposed, defendant may be returned to prison
for all or part of the term of supervised release, which could
result in defendant serving a total term of imprisonment greater
than the statutory maximum stated above.

6. Defendant also understands that, by pleading guilty,

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defendant may be giving up valuable government benefits and
valuable civic rights, such as the right to vote, the right to
possess a firearm, the right to hold office, and the right to
serve on a jury.

7. Defendant further understands that the conviction in
this case may subject defendant to various collateral
consequences, including but not limited to deportation,
revocation of probation, parole, or supervised release in
another case, and suspension or revocation of a professional
license. Defendant understands that unanticipated collateral
consequences will not serve as grounds to withdraw defendant’s
guilty plea.

PACTUAL BASIS

8. Defendant and the USAO agree and stipulate to the
statement of facts provided below. This statement of facts is
sufficient to support a plea of guilty to the charge described
in this agreement and to establish the sentencing guideline
factors set forth in paragraph 11 below. It is not meant to be
a complete recitation of all facts relevant to the underlying
criminal conduct or all facts known to either party that relate
to that conduct.

On May 29, 2007, an unknown person deposited

$9,200 in cash into a bank account (number ending in

4516) in the name of Denim Palace at Bank of America.

The next day, on May 30, 2007, defendant knowingly

deposited $8,250 in cash into the same bank account

(number ending in 4516) in the name of Denim Palace at

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Bank of America. Defendant’s deposit of $8,250 in

 

 
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cash on May 30, 2007 is reflected in bank records and
video surveillance photos. The total amount of cash
in the above-referenced two deposits on May 29 and May
30, 2007 was $17,450.

The deposit of a total of over $10,000 in cash on
a single day into the Denim Palace account would have
caused Bank of America to be required to file a
Currency Transaction Report. However, in order to
evade and for the purpose of evading the currency
reporting requirement of 31 U.S.C. § 5313, defendant
structured and assisted in structuring the deposit so
that each deposit would be under $10,000.

WAIVER OF CONSTITUTIONAL RIGHTS
9. By pleading guilty, defendant gives up the following
rights:

a) The right to persist ina plea of not guilty.

b) The right to a speedy and public trial by jury.

c) The right to the assistance of legal counsel at
trial, including the right to have the Court appoint counsel for
defendant for the purpose of representation at trial. (In this
regard, defendant understands that, despite his plea of guilty,
he retains the right to be represented by counsel -- and, if
necessary, to have the court appoint counsel if defendant cannot
afford counsel -- at every other stage of the proceeding.)

d) The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant
guilty beyond a reasonable doubt.

e) The right to confront and cross-examine witnesses

 

 
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against defendant.

f) The right, if defendant wished, to testify on
defendant’s own behalf and present evidence in opposition to the
charges, including the right to call witnesses and to subpoena
those witnesses to testify.

g) The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

By pleading guilty, defendant also gives up any and all
rights to pursue any affirmative defenses, Fourth Amendment or
Fifth Amendment claims, and other pretrial motions that have
been filed or could be filed.

SENTENCING FACTORS

10. Defendant understands that the Court is required to
consider the factors set forth in 18 U.S.C. § 3553(a)(1)-(7),
including the kinds of sentence and sentencing range established
under the United States Sentencing Guidelines (“U.S.S.G." or
“Sentencing Guidelines”), in determining defendant’s sentence.
Defendant further understands that the Sentencing Guidelines are
advisory only, and that after considering the Sentencing
Guidelines and the other § 3553(a) factors, the Court may be
free to exercise its discretion to impose any reasonable

sentence up to the maximum set by statute for the crime of

conviction.
11. Defendant and the USAO agree and stipulate to the
following applicable sentencing guideline factors:

Base Offense Level -: 6 [U.S.S.G. §251.3]

 

 
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Value of the funds
involved in Count Seven

($17,450) : +4 [U.S.S.G. §2B1.1(C)]
Acceptance of

Responsibility : -2 [U.S.S.G. §3E1.1]
Total Offense Level: 8

For purposes of this plea agreement, the government does not
allege that any enhancement applies for a pattern of illegal
activity involving more than $100,000 in a 12-month period. The
USAO will agree to a downward adjustment for acceptance of
responsibility (and, if applicable, move for an additional level
under § 3E1.1(b)) only if the conditions set forth in paragraph
15 are met. Subject to paragraph 15, defendant and the USAO
agree not to seek, argue, or suggest in any way, either orally
or in writing, that any other specific offense characteristics,
adjustments or departures, relating to either the applicable
Offense Level or the Criminal History Category, be imposed. If,
however, after signing this agreement but prior to sentencing,
defendant were to commit an act, or the USAO were to discover a
previously undiscovered act committed by defendant prior to
signing this agreement, which act, in the judgment of the USAO,
constituted obstruction of justice within the meaning of
U.S.S.G. § 3C1.1, the USAO would be free to seek the enhancement
set forth in that section.

12. There is no agreement as to defendant’s criminal
history or criminal history category.

13. Defendant and the USAO also agree and stipulate that,
taking into account the factors listed in 18 U.S.C. §

3553 (a) (1)-(7), the relevant Sentencing Guidelines effective on

 

 
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November 1, 2006, represent a reasonable basis for the Court to
determine defendant’s sentence in this case, and agree that
defendant should be sentenced in accordance with the Sentencing
Guidelines. Therefore, subject to paragraph 15, defendant and
the USAO agree not to seek, argue, or suggest in any way, either
orally or in writing, that the Court (a) not follow the
Sentencing Guidelines in imposing sentence; (b) impose a
sentence not in accordance with the Sentencing Guidelines; or
(c) impose a sentence outside the sentencing range corresponding
to the determined total offense level; or (c) impose a sentence
outside the sentencing range for the total offense level
stipulated to above.

14. The stipulations in this agreement do not bind either
the United States Probation Office or the Court. Both defendant
and the USAO are free to: (a) supplement the facts by supplying
relevant information to the United States Probation Office and
the Court, (b) correct any and all factual misstatements
relating to the calculation of the sentence, and (c) argue on
appeal and collateral review that the Court’s Sentencing
Guidelines calculations are not error, although each party
agrees to maintain its view that the calculations in paragraph
11 are consistent with the facts of this case.

DEFENDANT'S OBLIGATIONS
15. Defendant agrees that he will:
a) Plead guilty as set forth in this agreement.
b) Not knowingly and willfully fail to abide by all
sentencing stipulations contained in this agreement.

c) Not knowingly and willfully fail to: (i) appear for

 

 
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all court appearances, (ii) surrender as ordered for service of
sentence, (iii) obey all conditions of any bond, and (iv) obey
any other ongoing court order in this matter.

d) Not commit any crime; however, offenses which would
be excluded for sentencing purposes under U.S.S.G. § 4A1.2(c)
are not within the scope of this agreement.

e) Not knowingly and willfully fail to be truthful at
all times with Pretrial Services, the U.S. Probation Office, and
the Court.

f) Pay the applicable special assessment at or before
the time of sentencing unless defendant lacks the ability to pay
and submits a completed financial statement (form OBD-500) to
the USAO prior to sentencing.

g) Obtain all claimants’ signatures upon the
Stipulation for Entry of Consent Judgment in the related civil
forfeiture action, in the form attached hereto as Exhibit 1, and
obtain the signature of Mahmoud Matar on the Waiver and Release
of Claims to Contest Forfeiture in the form attached hereto as
Exhibit 2, and deliver the fully executed Stipulation and Waiver
to the government prior to sentencing.

h) Not assist any other individual in any effort
falsely to contest the forfeiture of the assets described in the
forfeiture Stipulation.

i) Not claim that reasonable cause to seize the assets
described in the forfeiture Stipulation was lacking.

j) Prevent the disbursement of any and all assets
described in the forfeiture Stipulation if such disbursements

are within defendant’s direct or indirect control.

 

 
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k) Not argue that forfeiture of assets described in
the forfeiture Stipulation shall be counted toward satisfaction
of any special assessment, fine, restitution, or any other
penalty the Court may impose.

THE USAO’S OBLIGATIONS
16. If defendant complies fully with all defendant's
obligations under this agreement, the USAO agrees:

a) To abide by all sentencing stipulations contained
in this agreement.

b) At the time of sentencing to move to dismiss the
remaining counts of the indictment as against defendant and move
to dismiss the underlying indictment.

c) At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up
to and including the time of sentencing, to recommend a two-
level reduction in the applicable sentencing guideline offense
level, pursuant to U.S.S.G. § 3E1.1, and to recommend and, if
necessary, move for an additional one-level reduction if
available under that section.

BREACH OF AGREEMENT

17. If defendant, at any time after the execution of this
agreement, knowingly violates or fails to perform any of
defendant’s agreements or obligations under this agreement (“a
breach”), the USAO may declare this agreement breached. If the
USAO declares this agreement breached at any time following its
execution, and the Court finds such a breach to have occurred,
then: (a) if defendant has previously entered a guilty plea,

defendant will not be able to withdraw the guilty plea, and (b)

 

 
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the USAO will be relieved of all of its obligations under this
agreement.

18. Following the Court’s finding of a knowing and willful
breach of this agreement by defendant, should the USAO elect to
pursue any charge or any civil or administrative action that was
either dismissed or not filed as a result of this agreement,
then:

a) Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of
this agreement and the commencement of any such prosecution or
action.

b) Defendant gives up all defenses based on the
Statute of limitations, any claim of pre-indictment delay, or
any speedy trial claim with respect to any such prosecution or
action, except to the extent that such defenses existed as of
the date of defendant’s signing this agreement.

c) Defendant agrees that: (i) any statements made by
defendant, under oath, at the guilty plea hearing (if such a
hearing occurred prior to the breach); (ii) the stipulated
factual basis statement in this agreement; and (111) any
evidence derived from such statements, are admissible against
defendant in any such prosecution of or action against
defendant, and defendant shall assert no claim under the United
States Constitution, any statute, Rule 410 of the Federal Rules
of Evidence, Rule 11(f£) of the Federal Rules of Criminal
Procedure, or any other federal rule, that the statements or any
evidence derived from any statements should be suppressed or are

inadmissible.

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WATVER OF APPEAL AND COLLATERAL ATTACK

19. Defendant gives up the right to appeal any sentence
imposed by the Court, and the manner in which the sentence is
determined, provided that the sentence is within the statutory
maximum specified in paragraph 4 above and is constitutional.
Defendant also gives up any right to bring a post-conviction
collateral attack on the conviction or sentence, except a post-
conviction collateral attack based on a claim of ineffective
assistance of counsel, a claim of newly discovered evidence, or
an explicitly retroactive change in the applicable Sentencing
Guidelines, sentencing statutes, or statutes of conviction.
Notwithstanding the foregoing, defendant retains the ability to
appeal the conditions of probation or supervised release imposed
by the Court, with the exception of the following: conditions
set forth in General Orders 318 and 01-05 of this Court; the
drug testing conditions mandated by 18 U.S.C. §§ 3563(a) (5) and
3583(d); and the alcohol and drug use conditions authorized by
18 U.S.C. § 3563(b) (7).

LIMITED MUTUAL WAIVER OF APPEAL

20. Defendant gives up the right to appeal any sentence
imposed by the Court, and the manner in which the sentence is
determined, provided that (a) the sentence is within the
statutory maximum specified above and is constitutional, and (b)
the Court imposes a sentence within or below the range
corresponding to a total offense level of 8, and the applicable
criminal history category as determined by the Court.
Notwithstanding the foregoing, defendant retains any ability

defendant has to appeal the Court’s determination of defendant's

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criminal history category and the conditions of probation or
supervised release imposed by the Court, with the exception of
the following: conditions set forth in General Orders 318, 0O1-
05, and/or 05-02 of this Court; the drug testing conditions
mandated by 18 U.S.C. §§ 3563(a) (5) and 3583(d); and the alcohol
and drug use conditions authorized by 18 U.S.C. § 3563(b) (7).

21. The USAO gives up its right to appeal the sentence,
provided that (a) the sentence is within the statutory maximum
specified above and is constitutional, and (b) the Court imposes
a sentence within or above the range corresponding to a total
offense level of 8, and the applicable criminal history category
as determined by the Court.

COURT NOT A PARTY

22. The Court is not a party to this agreement and need
not accept any of the USAO’s sentencing recommendations or the
parties’ stipulations. Even if the Court ignores any sentencing
recommendation, finds facts or reaches conclusions different
from any stipulation, and/or imposes any sentence up to the
maximum established by statute, defendant cannot, for that
reason, withdraw defendant’s guilty plea, and defendant will
remain bound to fulfill all defendant’s obligations under this
agreement. No one -- not the prosecutor, defendant’s attorney,
or the Court -- can make a binding prediction or promise
regarding the sentence defendant will receive, except that it
will be within the statutory maximum.

NO ADDITIONAL AGREEMENTS
23. Except as set forth herein, there are no promises,

understandings or agreements between the USAO and defendant or

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defendant’s counsel. Nor may any additional agreement,
understanding or condition be entered into unless in a writing
Signed by all parties or on the record in court.
PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

24. The parties agree and stipulate that this Agreement
will be considered part of the record of defendant’s guilty plea
hearing as if the entire Agreement had been read into the record
of the proceeding.

This agreement is effective upon signature by defendant and
an Assistant United States Attorney.
AGREED AND ACCEPTED

UNITED STATES ATTORNEY'S OFFICE
FOR THE CENTRAL DISTRICT OF CALIFORNIA

THOMAS P. O’BRIEN
United States Attorney

iret C Nodoron Meu 27 PooF>
MANET C. HUDSON Date // ’
assistant United States Attorney ;
This agreement has been read to me in Arabic, the language
I understand best, and I have carefully discussed every part of
it with my attorney. I understand the terms of this agreement,
and I voluntarily agree to those terms. My attorney has advised
me of my rights, of possible defenses, of the sentencing factors
set forth in 18 U.S.C. § 3553(a), of the relevant Sentencing
Guidelines provisions, and of the consequences of entering into
this agreement. No promises or inducements have been given to
me other than those contained in this agreement. No one has
threatened or forced me in any way to enter into this agreement.

Finally, I am satisfied with the representation of my attorney

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in this matter.

   

 

 

 

 

/ S -27-09

MOHAMAD MOUSSE MATAR Date
Defendant

IT, Nohad Hanna, am fluent in written and spoken English and
Arabic languages. I accurately translated this entire agreement
from English into Arabic to defendant MOHAMAD MOUSSA MATAR on
this date.

shail

NOHAD HAWNAY Date fF
Interpreter

I am Mohamad Moussa Matar’s attorney. I have carefully
discussed every part of this agreement with my client. Further,

I have fully advised my client of his rights, of possible
defenses, of the sentencing factors set forth in 18 U.S.C. §
3553(a), of the relevant Sentencing Guidelines provisions, and
of the consequences of entering into this agreement. To my

knowledge, claert’s decision to enter into this agreement is

    
 

vd¢dluntary one.

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AZ 8/27/04
HUSSEI NCHAH LE” Date

GS for Defendant
MOHAM MOUSSA MATAR

an informed

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EXHIBIT 1
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Attorneys for Plaintiff
United States of America
UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION
UNITED STATES OF AMERICA, CV 08-02741 GW (PLAx)

STIPULATION FOR ENTRY OF
CONSENT JUDGMENT

Plaintiff,

Vv.
[PROPOSED ORDER FILED
$264,888.70 IN BANK ACCOUNT CONCURRENTLY]
FUNDS, AND $77,035.00,
$72,922.00, $18,095.00 IN U.S.
CURRENCY, AND $204,706.40

IN BANK ACCOUNT FUNDS,

Defendants.

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Plaintiff United States of America (the "government") and
claimants Moussa Matar, Feyrouz Matar, Mohamad Moussa Matar, Rana
Ahmed Ghasham (aka Rayna Ahmed Gashamp), Zeinab Matar, Nour
Yousseff Saab, Ali Moussa Matar, Fatima Matar, and Ali Saleh,

hereby stipulate as follows:
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1. This agreement is entered into between plaintiff United
States of America and claimants Moussa Matar, Feyrouz Matar,
Mohamad Moussa Matar, Rana Ahmed Ghasham (aka Rayna Ahmed Gashamp) ,
Zeinab Matar, Nour Yousseff Saab, Ali Moussa Matar, Fatima Matar,
and Ali Saleh. Each of the claimants has asserted an interest in
one or more of the defendants $264,888.70 in Bank Account Funds,
and $77,035.00, $72,922.00, $18,095.00 in U.S. Currency, and
$204,706.40 in Bank Account Funds. The defendants are referred to
collectively as “defendant funds.”

2. On April 17, 2007, plaintiff United States of America
commenced this judicial forfeiture action by filing a Complaint
alleging that the defendants are forfeitable to the United States
pursuant to 18 U.S.C. §§ 981{(a) (1) (A), (a) (1) (C), and 984.

3. On July 28, 2008, the government filed a First Amended
Complaint, which added the defendant $204,706.40 in Bank Account
Funds as a defendant in the case. Claimants Moussa Matar, Feyrouz
Matar, Mohamad Moussa Matar, Rana Ahmed Ghasham (aka Rayna Ahmed
Gashamp), Zeinab Matar, Nour Yousseff Saab, Ali Moussa Matar,
Fatima Matar, and Ali Saleh each filed a claim to contest the
forfeiture of one or more of the defendant assets, but no answers
were ever filed.

4. Plaintiff has notified other potential claimants of this
action pursuant to Supplemental Rule G of the Federal Rules of
Civil Procedure. The United States published notice of the
original Complaint on May 20, 27, and June 3, 2008, and the First
Amended Complaint on August 14, 21, and 28, 2008. No other claims
or answers have been filed to contest the forfeiture of the

defendant funds other than specifically noted above, and the time

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for filing claims and answers has expired. All potential claimants
to the defendant funds other than the undersigned are deemed to
have admitted the allegations of the Complaint and First Amended
Complaint (“FAC”).

5. It is the intention of plaintiff United States of America
and Moussa Matar, Feyrouz Matar, Mohamad Moussa Matar, Rana Ahmed
Ghasham (aka Rayna Ahmed Gashamp), Zeinab Matar, Nour Yousseff
Saab, Ali Moussa Matar, Fatima Matar, and Ali Saleh to resolve all
of their competing claims to the defendants by this Stipulation for

Entry of Consent Judgment.

6. The parties agree to the following disposition of the
defendants:
a. The United States shall have judgment in the present

forfeiture action against the interests of Moussa Matar, Feyrouz
Matar, Mohamad Moussa Matar, Rana Ahmed Ghasham (aka Rayna Ahmed
Gashamp), Zeinab Matar, Nour Yousseff£ Saab, Ali Moussa Matar,
Fatima Matar, and Ali Saleh, and all other potential claimants, in
all of the following defendants (collectively, the “Forfeited
Funds”):

(1) $241,438.70 of the defendant $264,888.70 in Bank Account
Funds (which defendant is particularly described at
paragraphs 6(a)-(g) of the FAC); and

(2) All of the defendant $204,706.40 in Bank Account Funds
(which defendant is particularly described at paragraphs
8(a)-(e) of the FAC).

The Forfeited Funds shall be condemned and forfeited to the United
States of America upon entry of the accompanying Consent Judgment.

The United States Marshals Service shall dispose of the Forfeited

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Funds in accordance with law.

b. The United States shall return the remaining $23,450.00
of the defendant $264,888.70 in Bank Account Funds; and all of the
defendants $77,035.00, $72,922.00 and $18,095.00 in U.S. Currency,
plus all interest actually accrued thereon since the time of
seizure, to claimants, via one or more checks payable to Hussein A.
Chahine Client Trust Account. Not later than 30 days after the
court enters the accompanying Consent Judgment, said check(s) shall
be mailed to: Hussein A. Chahine; 33 South Catalina Avenue, Suite
202; Pasadena, California 91106.

7. Except as to such rights and obligations created by this
agreement, claimants Moussa Matar, Feyrouz Matar, Mohamad Moussa
Matar, Rana Ahmed Ghasham (aka Rayna Ahmed Gashamp), Zeinab Matar,
Nour Yousseff Saab, Ali Moussa Matar, Fatima Matar, and Ali Saleh,
release and agree to hold harmless the United States, and any
agents, servants, and employees of the United States (or any state
or local law enforcement agency), including without limitation the
Federal Bureau of Investigation, acting in their individual or
official capacities, from all claims, actions or proceedings,
including, but not limited to, any claim for attorney's fees and/or
costs, or interest, which may hereafter be asserted or brought by
any of them or on their behalf which arise out of the present
action.

8. Each party shall bear its own costs of litigation and
attorney's fees. Each party waives its right to appeal. The
parties agree that the Court's entry of the accompanying Consent
Judgment constitutes a certificate of reasonable cause pursuant to

28 U.S.C. § 2465(a) (2).

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9. The parties agree that the Court retains jurisdiction over
this case and the parties hereto to effectuate the terms of this

settlement.

10. Each of the undersigned represents that he/she has the
full power and authority (without further approvals or consents) to
enter into this Stipulation and perform the obligations set forth

herein.

11. The parties hereby stipulate and request that the Court
enter the accompanying Consent Judgment in this matter.

SO STIPULATED.

DATED: THOMAS P. O'BRIEN
United States Attorney
CHRISTINE C. EWELL
Assistant United States Attorney
Chief, Criminal Division
STEVEN R. WELK
Assistant United States Attorney
Chief, Asset Forfeiture Section

 

MONICA E. TAIT
Assistant United States Attorney

Attorneys for Plaintiff
UNITED STATES OF AMERICA

 

 

 

DATED:
MOUSSA MATAR, claimant
DATED:
FEYROUZ MATAR, claimant
DATED:
MOHAMAD MOUSSA MATAR, claimant
DATED:

 

RANA AHMED GHASHAM, aka Rayna Ahmed
Gashamp, claimant
(continued to next page)

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DATED :

DATED :

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DATED:

DATED :

DATED:

 

ZEINAB MATAR, claimant

 

NOUR YOUSSEFF SAAB, claimant

 

ALI MOUSSA MATAR, claimant

 

FATIMA MATAR, claimant

 

ALT SALEH, claimant

 

CORNELL J. PRICE

Attorney for Claimants MOUSSA

MATAR, FEYROUZ MATAR, MOHAMAD

MOUSSA MATAR, RANA AHMED GHASHAM (AKA
RAYNA AHMED GASHAMP), ZEINAB MATAR,
NOUR YOUSSEFF SAAB, ALI MOUSSA MATAR,
FATIMA MATER, AND ALI SALEH

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EXHIBIT 2
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WAIVER AND RELEASE
OF CLAIMS TO CONTEST FORFEITURE

I. INTRODUCTION.

A. Moussa Matar, Mohamed Matar, and Ali Matar
(“defendants”) have entered into a plea agreement with the United
States Attorneys Office for the Central District of California.

B. Defendants and certain non-defendants have agreed to
forfeit the following property to the United States pursuant to
18 U.S.C. §§ 981(a) (1) (A), (C), and 984:

(1) A portion of the $264,888.70 in bank funds seized by
Special Agents of the Federal Bureau of Investigation ("FBI") on
November 6, 2007 from accounts at Bank of America pursuant toa
federal seizure warrant. The seized funds are more particularly

described as follows:

a. $46,900.00 seized from an account ending in -0804;
b. $74,447.52 seized from an account ending in -1759;
Cc. $21,661.48 seized from an account ending in -3268;
a. $24,573.88 seized from an account ending in -2456;
e. $62,144.45 seized from an account ending in -4516;
£. $17,852.46 seized from an account ending in -1090;
g. $17,308.91 seized from an account ending in -3923.

(2) $204,706.40 in bank funds seized by Special Agents of
the FBI on or about February 21, 2008 from accounts at U.S. Bank
pursuant to a federal seizure warrant, and more particularly

described as follows:

a. $14,156.07 seized from an account ending in -2784;
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b. $112,626.21 from an account ending in -2792;
Cc. $25,394.53 from an account ending in -2800;
d. $28,027.00 from an account ending in -2826; and
e, $24,502.59 from an account ending in -2891.
on Mahmoud Matar is Moussa Matar’s son. Mahmoud Matar

resided at Moussa Matar’s Cudahy, California residence on or
about November 6, 2007, at the time of the seizure of $77,035.00
in United States Currency (“seized currency”) from the residence
by members of the Los Angeles Police Department or Special Agents
of the Federal Bureau of Investigation during the execution of a
State search warrant at the residence.
II. WAIVER AND RELEASE BY MAHMOUD MATAR

Mahmoud Matar hereby knowingly, voluntarily, and
intelligently waives, relinquishes, and surrenders all rights to
contest the forfeiture of the bank funds and seized currency
described in paragraphs I(B)-(C) above, and all rights to
judicial review of the seizure and/or forfeiture of those assets.

Dated:

 

Mahmoud Matar
